      Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 1 of 16




 1   Kathleen E. Brody (Bar No. 026331)
     kathy@mscclaw.com
 2   Molly Brizgys (Bar No. 029216)
 3   molly@mscclaw.com
     MITCHELL | STEIN | CAREY | CHAPMAN, PC
 4   2600 North Central Avenue, Suite 1000
 5   Phoenix, AZ 85004
     Telephone: (602) 358-0290
 6
 7   Mukund Rathi (pro hac vice)
     mukund@eff.org
 8   Adam Schwartz (pro hac vice)
     adam@eff.org
 9
     ELECTRONIC FRONTIER FOUNDATION
10   815 Eddy Street
     San Francisco, CA 94109
11
     Telephone: (415) 436-9333
12
     Attorneys for Amici Curiae Central Arizona
13
     NLG, Southern Arizona NLG, Mass Liberation
14   Arizona, Poder in Action, and Electronic
     Frontier Foundation
15
16                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF ARIZONA
17
18   Arizona Broadcasters Association, et al.,  )   No. 2:22-cv-01431-JJT
                                                )
19
                                    Plaintiffs, )   AMICUS CURIAE BRIEF OF
20                                              )   CENTRAL ARIZONA NLG,
                         vs.                    )   SOUTHERN ARIZONA NLG, MASS
21
                                                )   LIBERATION AZ, PODER IN
22   Mark Brnovich, et al.,                     )   ACTION, AND ELECTRONIC
                                                )   FRONTIER FOUNDATION IN
23
                                   Defendants. )    SUPPORT OF PLAINTIFFS’ MOTION
24                                              )   FOR PRELIMINARY INJUNCTION
                                                )
25
                                                )   (Honorable John J. Tuchi)
26
27
28
         Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 2 of 16




 1                                  Amici Statements of Interest
             Amici curiae are advocacy organizations that protect constitutional rights and hold
 2
     governments accountable through protests, journalism and education, and policy
 3
     advocacy.
 4
             The Central Arizona Chapter of the National Lawyers Guild (“Central Arizona
 5
     NLG”) serves the Phoenix metro region. The independent chapter formed in the 1980s.
 6
     Among other activities, it runs a Legal Observer (LO) program, which trains individuals
 7
     to monitor and record police conduct under the supervision of an attorney at protests in
 8
     Phoenix, Tempe, Scottsdale, and other parts of the greater Phoenix and Maricopa County
 9
     area. The LO program has a roster of approximately 25 trained individuals.
10
             The Southern Arizona NLG is the regional chapter of the National Lawyers Guild
11
     that serves Tucson and Southern Arizona. The chapter formed in the 1990s. It has run an
12
     LO program for at least seven years, which trains individuals to monitor and record
13
     police conduct at protests. The LO program has a roster of approximately 80 trained
14
     individuals. The chapter also provides “know your rights” trainings to protesters, which
15
     includes their constitutional right to record the police.1
16
             Mass Liberation AZ is a Black-led abolitionist group based in south Phoenix and
17
     organizing throughout Arizona. Among other things, it supports protesters who are
18
     targeted by police and incarcerated for their free expression. It receives recordings and
19
     other documentation of police misconduct from protesters and other community
20
     members, and makes those materials available to lawyers for protesters subject to police
21
     enforcement or violence. It has held town halls around the state, advanced decarceral
22
     legislation, fought for and won police accountability, educated the public on the role of
23
     prosecutors in mass incarceration, and targeted prosecutors for their misconduct.2
24
25
     1
       The National Lawyers Guild (NLG), of which Central Arizona and Southern Arizona
26   are Chapters, is a nationwide bar association of lawyers, law students, legal workers, and
27   jailhouse lawyers. Each chapter operates independently within the common values shared
     nationally. NLG Legal Observer programs began in 1965.
28   2
       Mass Liberation AZ is fiscally sponsored by Tides Advocacy, a California nonprofit
     public benefit corporation.

                                                   -2-
         Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 3 of 16




 1            Poder in Action is based in the Maryvale neighborhood of Phoenix and builds
 2   power to disrupt and dismantle systems of oppression in Arizona. It is led by people of
 3   color based on their experiences with injustice in policing and the criminal justice system.
 4   It trains LOs to monitor and record police conduct at protests in Phoenix and the
 5   surrounding areas. It trains community members on their rights when they encounter
 6   police and is a hub for the community’s recordings that document police misconduct.
 7            The Electronic Frontier Foundation works to ensure that technology supports
 8   freedom, justice, and innovation for all people in the world. It is a non-profit with more
 9   than 35,000 active donors, founded in 1990 and based in San Francisco. It represents the
10   interests of technology users in courts and legislatures. It has filed amicus briefs in six
11   cases in support of the First Amendment right to record on-duty police officers.3
12
                                             Introduction
13
              HB 2319 violates the First Amendment rights of Arizonans throughout the state,
14
     who use their phones and other cameras to record on-duty police within eight feet.
15
     Arizonans use these recordings to document police activity at protests, expose false
16
     charges against protesters, and inform the public of police misconduct. The First
17
     Amendment right to record the police is long-established. See, e.g., Fordyce v. City of
18
     Seattle, 55 F.3d 436, 439 (9th Cir. 1995). This Court must enjoin the Arizona
19
     government’s unprecedented attempt to criminalize this constitutional right.
20
              Plaintiffs demonstrate that HB 2319 is unconstitutionally overbroad and vague.
21
     The overbreadth is “not only [] real, but substantial as well, judged in relation to the
22
     statute’s plainly legitimate sweep.” Broadrick v. Oklahoma, 413 U.S. 601, 615 (1973).
23
     Amici further illustrate this overbreadth through their experiences as community-based
24
     organizations that create and use recordings of police within eight feet to hold police
25
     accountable and keep their communities free and safe.
26
27
28
     3
         www.eff.org/issues/right-record.

                                                   -3-
          Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 4 of 16




 1                                          Argument
 2   I.       Arizonans routinely hold police accountable at protests by recording them
              within eight feet.
 3
              A.    Legal Observers record the police.
 4
              Legal Observer (LO) programs, such as those run by the Central Arizona NLG,
 5
     Southern Arizona NLG, and Poder in Action, monitor and record police conduct at
 6
     protests. They protect the public’s constitutional right to protest and hold police
 7
     accountable. LOs are attorneys, law students, and other community members.
 8
              Amici’s LOs are trained to place themselves near police to observe police activity
 9
     but not engage in protest or interfere with police. They use phone cameras, body cameras,
10
     and notepads to document police operations, police instructions such as orders to
11
     disperse, and police actions such as arrests or uses of force like tear gas and pepper balls.
12
     When people are wrongfully charged for their lawful exercise of their right to protest, or
13
     when people bring civil rights actions against police misconduct, the LO program
14
     provides documentary evidence of what actually took place.
15
              Amici send LOs to protests upon request from organizers or during large
16
     spontaneous events, such as the racial justice protests during summer 2020. These
17
     protests include anywhere from a handful of attendees to many thousands. Amici deploy
18
     from two to eight LOs depending on the protest’s size. LOs attend numerous protests
19
     every year. Some protests have permits, some are spontaneous, and some involve civil
20
     disobedience. During the summer 2020 protests, LOs often attended protests daily.
21
              B.    Protest activity often occurs within eight feet of police.
22
              Protesters and LOs need to record where police action is happening. Many will
23
     often end up near officers.
24
              For example, there are crowded situations where protesters and counter-protesters
25
     are in lines facing off towards each other, with police in between or nearby.4 Some
26
27
     4
      See Video shows Flagstaff man confront and pull gun on protesters with police officer
28   nearby, The Arizona Republic, at 1:51 (July 31, 2020),
     https://www.youtube.com/watch?v=LD6UOBJEFKc.

                                                  -4-
         Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 5 of 16




 1   protests, such as those after the murder of George Floyd, are specifically against racism
 2   in policing and thus people naturally protest within eight feet of officers on the scene.5
 3   And at any protest, people may express their disagreement with police conduct and
 4   tactics.6
 5           To monitor how police treat these protesters, LOs must also be within eight feet.
 6   During one of the George Floyd protests in downtown Tucson, for example, protesters
 7   stood in a line a short distance from a line of officers. The only way for LOs to monitor
 8   the officers was to stand at the end of the two lines, looking down the middle.7 Officers
 9   subsequently detained, pepper sprayed, and tear gassed some of these protesters.
10           C.     Views of police activity are often obscured beyond eight feet.
11           Many protests are filled with visual and audible obstructions. They are often
12   crowded with protesters, bystanders, signs, tables, speakers, props, police officers, and
13   police equipment. They often involve chanting and speaking with amplification. If an LO
14   is forced to be more than eight feet away from police, they will be unable to document
15   police activities.
16           First, LOs need to capture details of arrests and uses of force.8 As discussed
17   below, police sometimes falsely accuse arrestees of resisting arrest or of felony
18   aggravated assault of an officer. To provide documentary evidence of what actually
19
20   5
       https://twitter.com/ZachCrenshaw/status/1267998803711283200 (June 2, 2020) (stand-
21   off with police where protesters chant “I can’t breathe”);
     https://twitter.com/Audreyj101/status/1267994237145985025 (June 2, 2020) (same,
22   chanting “hands up, don’t shoot”).
     6
23     https://twitter.com/gaminogabriel/status/1275567221566103552 (June 23, 2020)
     (argument between protesters and police); Helen Wieffering, ‘Instant chaos’: Police shot
24   into crowd minutes after beginning to clear road for Trump, The Arizona Republic (June
25   26, 2020), https://www.azcentral.com/story/news/local/phoenix/2020/06/26/donald-
     trump-arizona-visit-phoenix-police-shot-unarmed-protesters/3251400001 (video at 3:30:
26   officers clash with protesters next to police line).
     7
27     See, e.g., https://twitter.com/Audreyj101/status/1267995393326907392 (June 2, 2020)
     (stand-off with police where protesters chant “we want change”).
28   8
       See Police vs. protesters in Arizona, CNN (July 23, 2010),
     https://www.youtube.com/watch?v=aDQh9R-k-M0 (officers arrest protesters).

                                                  -5-
         Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 6 of 16




 1   happened so protesters can defend themselves from false charges, LOs often must be
 2   close enough to record details without physical obstructions. For example, people will
 3   sometimes gather around police arrests at protests. To monitor the police action, LOs
 4   must get to the front of the crowd and thus within eight feet of the police.
 5           A detail that is particularly important for LOs to capture is the badge number and
 6   name plate of officers who arrest or use force against protesters. If a protester’s civil
 7   rights are violated, they need to know who to sue, and if they are wrongfully charged,
 8   they need to know who to call as a witness. Badges and name plates are not large, and
 9   sometimes are in motion. An LO may not be able to see these items at eye level. Ordinary
10   cameras often cannot capture a legible image of a small item from beyond eight feet,
11   even with a zoom. LOs also must get close enough to document if officers are not
12   wearing their badge or name plate. Further, after an enforcement action, LOs often ask
13   officers for their names and badge numbers. They must be close enough to document the
14   audio of the officers’ answers because in some cases they answer only once (or in other
15   cases, are silent or refuse to answer).9 At a noisy event, ordinary cameras often cannot
16   capture this audio from beyond eight feet.
17           HB 2319 will effectively impose a no-recording zone of far greater than eight feet
18   around an arrest or use of force, since police often set up a perimeter of officers around
19   such activity. LOs may be pushed back not just eight feet away from the arrest or use of
20   force itself, but from the perimeter around it. At a protest last year in Tucson, for
21   example, an officer was detaining and questioning an LO and there was a perimeter of
22   nearly twenty other officers around them. A fellow LO attempted to record the
23   interaction, but perimeter officers told them to move back, ultimately to nearly 30 feet
24
25
26   9
      See Chloe Jones, Tempe PD pepper sprayed demonstrators at Saturday ‘chalk walk’
27   protest, AZ Mirror (June 28, 2020), https://www.azmirror.com/2020/06/28/tempe-pd-
     pepper-sprayed-demonstrators-at-saturday-chalk-walk-protest;
28   https://www.instagram.com/tv/CB91jGvh25c (June 27, 2020) (video at 0:37–0:53:
     officers ignore repeated request for identification and badge numbers).

                                                  -6-
          Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 7 of 16




 1   away. Moreover, perimeter officers often position themselves to block recorders’
 2   sightlines.10
 3            Second, LOs need to capture details of other police actions. Police might treat
 4   counter-protesters more permissively than the main protesters (for example, by
 5   threatening to cite the latter group with trespass but not the former) or fail to keep the two
 6   groups separate. Police may sometimes give orders to protesters, such as to disperse,
 7   from a squad car’s loudspeaker; to document who gave the order, an LO must approach
 8   the car to ask the officer to identify themselves. Police might use excessive force or
 9   retaliate against disfavored speech.11 Police might fail to give a warning before using
10   force against protesters, so it is important to document police arriving with a new
11   munition (like pepper-ball guns) or equipment (like plastic handcuffs or a long-range
12   acoustic device); the positioning related to the protest; any orders to disperse (or lack of);
13   the time given to comply; and the police action against protesters.12
14
15
16   10
        See, e.g., Irizarry v. Yehia, 38 F.4th 1282, 1292-93 (10th Cir. 2022) (officer unlawfully
17   stood in front of camera and shined a flashlight into it).
     11
        https://twitter.com/gaminogabriel/status/1275560586827362304 (June 23, 2020)
18   (police preventing protesters with admission tickets from attending Trump event).
     12
19      Dave Biscobing, Police knew 2019 protest arrest was a mistake, MCAO brought
     charges anyway, ABC 15 (Feb. 18, 2021), https://www.abc15.com/news/local-
20   news/investigations/protest-arrests/police-knew-2019-protest-arrest-was-a-mistake-mcao-
21   brought-charges-anyway (first video at 4:05: officers tackling a protester who was in the
     middle of a news interview); Chloe Jones, supra n.9 (first and second videos: police
22   pepper spraying and tackling protesters); https://www.instagram.com/p/CBzQtUABfN3
23   (June 23, 2020) (police advance towards protesters and at 0:59, fire pepper balls);
     https://twitter.com/gaminogabriel/status/1275573699622494208 (June 23, 2020) (police
24   pepper spraying protesters);
25   https://twitter.com/ZachCrenshaw/status/1266224302296141824 (May 28, 2020)
     (troopers readying gear and lining up);
26   https://twitter.com/ZachCrenshaw/status/1266226396663123968 (May 28, 2020) (police
27   arriving in riot gear); https://twitter.com/azfamily/status/1287983623971508224 (July
     27, 2020) (officers tackling, arresting, and pepper spraying protesters crossing street);
28   https://twitter.com/greg_doucette/status/1268593778878750725 (June 4, 2020) (police
     tackle protester who yells that he is walking home).

                                                   -7-
          Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 8 of 16




 1            Third, both protesters and LOs often face on-scene retaliation from police for their
 2   expression, and close-range recording is necessary to document this.13 LOs have been
 3   targeted, arrested, and removed from the scene, or otherwise intimidated by police to
 4   prevent observation and recording.14 At a protest in Phoenix in August of 2020, a
 5   supervising officer singled out an LO from a crowd watching an arrest, forced only the
 6   LO to back away, and blocked the LO’s sightline. When the LO asked how far back they
 7   had to go, the officer named the neighboring town of Goodyear.
 8            In another instance, police followed an LO leaving a protest in Phoenix in
 9   September of 2020 and stopped them for a bicycle light infraction. The police falsely
10   cited the LO for refusing to provide their name and date of birth. The LO’s own body-
11   worn camera provided the exculpatory evidence – shot within eight feet – that the LO
12   gave this information at the first request.
13            Fourth, recording from within eight feet is necessary to pick up audible details of
14   police activity at noisy protests. For example, LOs listen for police giving instructions to
15   protesters, such as, “you can’t stand there.” LOs document who gave the order and what
16   area was forbidden. To do so, the LOs often need to be within eight feet. Afterwards, this
17   recording may show that a protester obeyed a lawful police instruction, or that an officer
18   gave an unlawful instruction. Likewise, a person being arrested may invoke their right to
19   counsel, which an LO can only document if they are within earshot. Finally, LOs ask
20   arrested protesters for their names and dates of birth and need to document their answers,
21   so they can be connected with a lawyer before their initial court appearance.15
22
     13
23      https://twitter.com/ZachCrenshaw/status/1266263492060786689 (May 29, 2020)
     (police throw recorder to ground).
24   14
        Chloe Jones, supra n.9 (police pepper spraying LO);
25   https://www.youtube.com/watch?v=tqyQFepQrh0 (June 26, 2022) (at 1:35: police
     detaining LOs and press).
26   15
        Effective legal representation at an initial appearance can prevent unjust outcomes like
27   defendants accepting plea offers for false charges. E.g., Dave Biscobing, Melissa Blasius,
     Phoenix police arrest dozens with copy-and-paste evidence, ABC 15 (Feb. 4, 2021),
28   https://www.abc15.com/news/local-news/investigations/phoenix-police-arrests-dozens-
     with-copy-and-paste-evidence.

                                                   -8-
          Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 9 of 16




 1            D.    Police at protests often move within eight feet of someone recording.
              Stationary LOs and protesters recording the police, through no action of their own,
 2
     routinely end up within eight feet of roaming police activity. Protests are often large and
 3
     dynamic. Groups of people move down the street in one or more directions. Others are
 4
     stationary with individuals moving in and out. Police actions move around too, including
 5
     arrests, crowd dispersals, and “kettling” (when police surround protesters and prevent
 6
     them from leaving).16
 7
              Moreover, officers often approach protesters and LOs.17 Under HB 2319, they
 8
     must stop recording or back away. During the George Floyd protests in Tucson, an LO
 9
     was recording a police action and an officer moved within a few feet of them and yelled
10
     at them to move.18
11
              Finally, LOs need to continuously record how police behavior progresses over
12
     time. LOs can’t stop recording every time police come within eight feet of them, and then
13
     restart once they are distant again. For example, an LO needs to accurately capture the
14
     full chain of events leading to police actions against protesters.
15
            E.      Recording is often better than note taking at protests.
16
              While many protesters and LOs carry notepads and pencils, these tools cannot
17
     replace recording the police with phones, body cameras, and similar devices.
18
19
20   16
        Jacqueline Baylon, Dylan Bank, 4 people who were arrested after a Phoenix BLM
21   protest wound up in ICE custody — and it shows the risk of protesting as an immigrant,
     Insider (Oct. 28, 2020), https://www.businessinsider.com/phoenix-protest-black-lives-
22   matter-immigrants-ice-daca-2020-10 (Phoenix police blockaded several downtown
23   streets and arrested over a hundred people);
     https://twitter.com/ZachCrenshaw/status/1266263341091090433 (May 29, 2020) (police
24   line moving protesters back and within eight feet of recorder);
25   https://twitter.com/Audreyj101/status/1287958646819680256 (July 27, 2020) (police
     moving arrestee within eight feet of recorder).
26   17
        https://www.instagram.com/p/CBzQtUABfN3 (June 23, 2020) (police advance towards
27   protesters and LO within eight feet and then fire pepper balls).
     18
        Cf. Schenk v Pro-Choice Network, 519 U.S. 357, 377-79 (1997) (striking down a 15-
28   foot floating buffer zone that required protesters to back away from people entering or
     leaving the site of protest).

                                                  -9-
      Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 10 of 16




 1          First, LOs often must ask an officer to state their name and badge number.
 2   Officers sometimes state this information very quickly and refuse to say it again. To
 3   effectively document the name and number, the LO must record the conversation.
 4          Second, recording can capture quick events and rapidly changing situations at
 5   protests, but written notes often cannot. LOs, like other people at protests, are also
 6   contending with weather and moving crowds.
 7         F.    Recordings of police within eight feet expose false charges against
                 protesters.
 8
            Unfortunately, police and prosecutors have wrongfully arrested and charged
 9
     protesters for their free expression. Recordings by other protesters and LOs can address
10
     this harm. This evidence may show that an officer unlawfully arrested a protester, or that
11
     an officer’s injury was not caused by an accused protester.
12
            During the 2020 George Floyd protests, video evidence contributed to the
13
     dropping of false charges against many protesters in the Phoenix metro area who did not
14
     actually obstruct a thoroughfare, assault an officer, or resist arrest.19 Phoenix police
15
     arrested hundreds of protesters from May to November 2020 and prosecutors charged
16
     scores of them with felonies.20 Video recordings of the arrests and surrounding
17
     circumstances helped clear these people.
18
            For example, one case was dismissed in July 2021 because of a recording of police
19
     within eight feet. Officers arrested a protester in August 2020 and alleged she had an
20
     umbrella and “started to swing it back and forth” and “leveled the umbrella” to stab them.
21
22
23
     19
        ‘We’ve charged innocent people’: MCAO accused by protesters of helping to file false
     charges, 12News (Mar. 15, 2022),
24   https://www.12news.com/article/news/local/valley/maricopa-county-attorneys-office-
25   accused-by-protestors-helping-file-false-charges/75-dacf415b-c1a0-4ff8-911b-
     986573082d52.
26   20
        Dave Biscobing, Melissa Blasius, Phoenix police arrest dozens with copy-and-paste
27   evidence, supra n.15; Dave Biscobing, MCAO, Phoenix PD facing new legal claims for
     bogus protest gang case, ABC 15 (Mar. 14, 2022), https://www.abc15.com/news/local-
28   news/investigations/protest-arrests/mcao-phoenix-pd-facing-new-legal-claims-for-bogus-
     protest-gang-case.

                                                  -10-
      Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 11 of 16




 1   But a cell phone recording within several feet of the arrest proved this was false.21
 2   Rather, the protester was running past officers when they tackled her. As retired
 3   Maricopa County Judge Roland Steinle wrote in his independent review of the county’s
 4   prosecutions of protesters, “[m]ultiple cell phone videos show [the protester] never
 5   swung the umbrella or leveled it.”22
 6          In July 2019, police likewise falsely arrested and charged an LO with allegedly
 7   striking an officer and resisting arrest. Again, cell phone recordings from within several
 8   feet of the arrest proved that the Phoenix police reports about this incident were false.23
 9   Rather, police charged at protesters and LOs peacefully standing on a sidewalk—they
10   later grabbed an LO, took him behind police lines, and arrested him. The case was
11   dismissed after the arresting officer admitted on the stand that both the cell phone
12   recordings and the police’s own surveillance video cleared the LO. The latter video was
13   requested by but never provided to the LO’s defense lawyer.24
14          Mass Liberation AZ receives recordings and other documentation of police
15   misconduct from protesters and other community members. If a protester and their
16   lawyer approve, Mass Liberation AZ may also share a recording with the news media to
17   inform the public about what actually happened. Even when the media does not publish
18   that recording, journalists may use it to find CCTV footage or other information. At its
19   core, the First Amendment protects sharing such information about police.
20
     21
21      Dave Biscobing, Politically Charged: Last Phoenix protest case to be dismissed, ABC
     15 (July 9, 2021), https://www.abc15.com/news/local-news/investigations/protest-
22   arrests/politically-charged-last-phoenix-protest-case-to-be-dismissed (video at 0:54).
23
     22
        Roland J. Steinle, Review of Maricopa County Attorney’s Office’s Policy, Procedures
     & Actions Involving the Protest Arrest on October 17, 2020 at 63 (Aug. 6, 2021),
24   https://s3.documentcloud.org/documents/21041347/final-mcao-report-862140.pdf.
     23
25      Dave Biscobing, Police knew 2019 protest arrest was a mistake, MCAO brought
     charges anyway, supra n.12 (first video at 2:40 and 4:30; second video at 4:20).
26   24
        See Fields v. City of Philadelphia, 862 F.3d 353, 359 (3d Cir. 2017) (“Bystander
27   videos provide different perspectives than police and dashboard cameras, portraying
     circumstances and surroundings that police videos often do not capture. Civilian video
28   also fills the gaps created when police choose not to record video or withhold their
     footage from the public.”).

                                                 -11-
      Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 12 of 16




 1   II.    Arizonans routinely hold police accountable throughout their communities by
            recording them within eight feet.
 2
            With digital devices and social media, many Arizonans can be journalists by
 3
     documenting and informing the public about newsworthy events, including and
 4
     especially police misconduct. This greatly contributes to the public discussion about
 5
     police use of force and racism in our criminal legal system.
 6          A.      Arizonans record the police within eight feet to inform the public of
 7                  misconduct.

 8          Some Arizonans are “cop watchers,” meaning they watch in their neighborhoods

 9   for police activity, such as traffic stops and sidewalk detentions. They record this activity

10   and may post their recordings online. Other Arizonans might not necessarily be looking

11   for police activity, but when they come across or are subject to it, they do what is

12   increasingly natural to many people: they take out their phone and record.25

13          Like LOs, any Arizonan exercising their right to record may need to do so within

14   eight feet to document details of uses of force, badge numbers, any warnings given

15   beforehand, retaliation against protected activity, and audio of police interactions. Even

16   outside protests, police activity often takes place in noisy environments. Police may be

17   operating, for example, in a busy urban environment with crowds, loud music, and traffic,

18   or in places with intense wind or rain. Police may activate their sirens or use

19   loudspeakers. And even if an Arizonan begins recording a police stop from more than

20   eight feet away, officers will often approach them, so they will have to move away or

21   stop recording.

22          Recordings within eight feet have documented Arizona police harassing

23   unsheltered people waiting for the bus,26 unlawfully entering a home and arresting a

24   25
        Dan Brown, George Floyd’s Murder Shows the Urgency of Being and Active
25   Bystander, BLOOMBERG LAW (May 25, 2021), https://news.bloomberglaw.com/business-
     and-practice/george-floyds-murder-shows-the-urgency-of-being-an-active-bystander;
26   Lauren Leamanczyk, What if there wasn’t cellphone video of Floyd’s death?, KARE 11
27   (June 18, 2020), https://www.kare11.com/article/news/local/george-floyd/kare-11-
     investigates-what-if-a-there-wasnt-cellphone-video-of-floyds-death/89-785d4021-151f-
28   4cb5-8628-f945af01068c.
     26
        https://www.instagram.com/p/CFKvbRhnnaH (Sept. 15, 2020).

                                                 -12-
      Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 13 of 16




 1   naked woman in front of her daughter,27 forcing a Black person to leave a theater despite
 2   having paid for a ticket,28 dragging a barely responsive person off public transportation,29
 3   punching and arresting a 13-year-old Black girl during their arrest of another Black
 4   person,30 wrestling two women to the ground over a parking dispute,31 and pepper
 5   spraying a large group of middle school students because three of them were fighting.32
 6          B.     Arizonans use digital devices and social media to create and share
                   recordings.
 7
            Today, the widespread availability of mobile digital devices and social media
 8
     means that the right to record and publish the news extends to far more people than a
 9
     select few.
10
11
     27
        Arizona woman sues cops after being arrested naked, CBS News (July 17, 2015),
12   https://www.cbsnews.com/news/arizona-woman-esmeralda-rossi-sues-chandler-police-
13   officers-violation-naked-arrest. HB 2319 chills the right to record police in one’s own
     home. The law’s exception for such recording does not apply if an “officer determines
14   that the person is interfering,” apparently authorizing officers to determine this
15   unilaterally. Further, the exception is vague: the resident must be recording “from an
     adjacent room or area,” but it is unclear, including in this video, what “adjacent” means
16   and if it applies to “area” or only “room.”
     28
17      Man Accuses AMC Theater in Arizona of Racial Profiling; Video Goes Viral, The
     Arizona Republic (Mar. 13, 2019), https://www.youtube.com/watch?v=R-dk8IFU6Zw.
18   HB 2319 chills the right to record one’s own detention by police. The law’s exception for
19   such recording applies to “the subject of a police contact,” unless they are “interfering.”
     This is vague, as the law does not define either key term. In this video, an officer uses
20   their hand to block the camera, indicating the officer saw this recording as interference.
21   But of course, such blocking violates the First Amendment. Irizarry, 38 F.4th at 1292-93.
     29
        https://twitter.com/SoySophiaAlexis/status/1563327887381434368 (Aug. 26, 2022).
22   30
        Justin Lum, Matt Galka, Officer seen hitting girl multiple times on video – Phoenix
23   Police say she struck first, Fox 10 (Feb. 1, 2022),
     https://www.fox10phoenix.com/news/phoenix-girl-seen-being-punched-by-officer-
24   multiple-times-on-video-department-investigating.
     31
25      Video allegedly shows Tucson officer wrestling two women to the ground, ABC 15
     (Nov. 29, 2021), https://www.youtube.com/watch?v=kshkyLmbmgM.
26   32
        Jessica Suerth, Activists call on Phoenix middle school to remove officer from campus
27   after pepper spray incident, 12News (Oct. 26, 2019),
     https://www.12news.com/article/news/local/valley/activists-call-on-phoenix-middle-
28   school-to-remove-officer-from-campus-after-pepper-spray-incident/75-27de3892-85ae-
     4725-9206-8c40c4bcb18a.

                                                 -13-
      Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 14 of 16




 1          As Chief Justice Roberts wrote, cell phones are “now such a pervasive and
 2   insistent part of daily life that the proverbial visitor from Mars might conclude they were
 3   an important feature of human anatomy.” Riley v. California, 573 U.S. 373, 385 (2014).
 4   Indeed, 97% of American adults own a cell phone, including 85% who own a smartphone
 5   with Internet access.33 Also, 53% of American adults own a tablet computer with the
 6   same capabilities.34 Globally, there are 8 billion mobile subscriptions.35 Moreover,
 7   modern smartphones have completely changed the way people record videos. With
 8   people taking over a trillion photos every year, 89% of them are captured by smartphones
 9   equipped with advanced cameras.36
10          The ease with which individuals can document events is complemented by the
11   ease of sharing recordings with others online. 67% of smartphone owners use their
12   devices to share photos or videos, and 35% do so frequently.37 7% of U.S. adults post
13   their own news videos on social media, and 7% submit their own content to news sites.38
14   Some social media apps allow users to upload recordings previously taken with a
15   smartphone. Others capture audio and video within the apps and post them instantly,
16   making the record-and-publish process seamless.
17
18
19   33
        Pew Research Center, Mobile Fact Sheet (Apr. 7, 2021),
20   https://www.pewresearch.org/internet/fact-sheet/mobile.
     34
21      Id.
     35
        Ericsson, Mobility Report (June 2021),
22   https://www.ericsson.com/4a03c2/assets/local/reports-papers/mobility-
23   report/documents/2021/june-2021-ericsson-mobility-report.pdf.
     36
        Nina Pantic, How Many Photos Will Be Taken in 2021?, Mylio Blog,
24   https://blog.mylio.com/how-many-photos-will-be-taken-in-2021-stats; Sascha Segan and
25   Steven Winkelman, The Best Camera Phones for 2021, PC Magazine (Oct. 29, 2021),
     https://www.pcmag.com/picks/the-best-camera-phones.
26   37
        Aaron Smith, U.S. Smartphone Use in 2015, Pew Research Center (Apr. 1, 2015),
27   https://www.pewresearch.org/internet/2015/04/01/us-smartphone-use-in-2015.
     38
        Amy Mitchell, et al., News Video on the Web, Pew Research Center (Mar. 26, 2014),
28   https://www.pewresearch.org/journalism/wp-content/uploads/sites/8/2014/03/News-
     Video-on-the-Web.pdf.

                                                 -14-
      Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 15 of 16




 1          Facebook has 2.93 billion monthly active users, over 98% of whom access it
 2   through their mobile devices.39 Every day, Facebook users watch 100 million hours of
 3   recordings.40 Indeed, video now accounts for almost half of all time spent on Facebook,
 4   with 8 billion video views a day.41 Twitter has 217 million daily active users.42 Tweets
 5   with videos are the most popular.43 There are over 2 billion video views on Twitter each
 6   day.44 YouTube has 866 million monthly active users.45 Fully 81% of Americans have
 7   used the site, to which over 500 hours of new recordings are uploaded every minute.46
 8   Instagram has over one billion monthly active users.47 Posts with video are the most
 9
10
11
12
     39
13      Statista Research Department, Number of Monthly Active Facebook Users Worldwide
     as of 2nd Quarter 2022, Statista (Aug. 22, 2022),
14   https://www.statista.com/statistics/264810/number-of-monthly-active-facebook-users-
15   worldwide; Statista Research Department, Device Usage of Facebook Users Worldwide
     as of July 2021, Statista (Sept. 7, 2021),
16   https://www.statista.com/statistics/377808/distribution-of-facebook-users-by-device.
     40
17      99 Firms, Facebook Video Statistics, https://99firms.com/blog/facebook-video-
     statistics.
18   41
        Mediakix, 13 Facebook Video Statistics That Matter for Businesses and Creators,
19   https://mediakix.com/blog/facebook-video-statistics-everyone-needs-know/#gs.96p9mo.
     42
        Salman Aslam, Twitter by the Numbers: Stats, Demographics & Fun Facts, Omnicore
20   (Feb. 22, 2022), https://www.omnicoreagency.com/twitter-statistics.
     43
21      Id.; Liz Alton, How Video is Reshaping Digital Advertising, Twitter Business,
     https://business.twitter.com/en/blog/how-video-is-reshaping-digital-advertising.html.
22   44
        Id.
     45
23      Laura Ceci, Number of Monthly Active Users (MAU) of the YouTube App Worldwide
     From 1st Quarter 2018 to 3rd Quarter 2021, Statista (Aug. 15, 2022),
24   https://www.statista.com/statistics/1252627/youtube-app-mau-worldwide.
     46
25      Brooke Auxier and Monica Anderson, Social Media Use in 2021, Pew Research Center
     (Apr. 7, 2021), https://www.pewresearch.org/internet/2021/04/07/social-media-use-in-
26   2021; Brian Dean, How Many People Use YouTube in 2021?, BackLinko (Sept. 7, 2021),
27   https://backlinko.com/youtube-users.
     47
        Statista Research Department, Instagram: Distribution of Global Audiences 2021, By
28   Age Group, Statista (Sept. 7, 2021),
     https://www.statista.com/statistics/325587/instagram-global-age-group.

                                                -15-
      Case 2:22-cv-01431-JJT Document 34 Filed 09/06/22 Page 16 of 16




 1   popular.48 TikTok is a fast-growing platform for short videos and has 1 billion monthly
 2   active users.49
 3          Many Arizonans use mobile devices and social media to record and publish the
 4   news, including how police use their powers.
 5
                                              Conclusion
 6
            Amici respectfully urge this Court to grant Plaintiffs’ motion for preliminary
 7
     injunction.
 8
 9          DATED: September 6, 2022
10
11                                      MITCHELL | STEIN | CAREY | CHAPMAN, PC

12
                                        By:
13
                                                Kathy Brody
14                                              Molly Brizgys
15
                                        ELECTRONIC FRONTIER FOUNDATION
16                                          Mukund Rathi
                                            Adam Schwartz
17
18                                              Attorneys for Amici Curiae Central Arizona
                                                NLG, Southern Arizona NLG, Mass Liberation
19
                                                AZ, Poder in Action, and Electronic Frontier
20                                              Foundation
21
22
23
24
25
26
     48
27      Lindsay Liedke, 25+ Instagram Marketing Statistics You Need to Know, Startup
     Bonsai (Nov. 15, 2021), https://startupbonsai.com/instagram-marketing-statistics.
28   49
        Werner Geyser, TikTok Statistics – Revenue, Users & Engagement Stats, Influencer
     Marketing Hub (Sept. 28, 2021), https://influencermarketinghub.com/tiktok-stats.

                                                 -16-
